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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNl;A 1 Inl 29 P~I'~I 2: 21.tot
                                                   LUL...,A/I

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UNITED STATES OF AMERICA,                     CASE NO. 13CR0303-AJB

                      PIa       iff,
               vs.                            JUDGMENT OF DISMISSAL
MIGUEL ANGEL GONZALEZ    (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has grant   the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     gUilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense as charged in the Information:

     21:952 and 960; 18:2



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JANUARY 29, 2013
                                              Nita L. Stormes
                                              U.S. Magistrate Judge
